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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

     CAROLYN CARPENTER,                                §
                                                       §
                            Plaintiff,                 §      CIVIL ACTION NO. 3:18-cv-2338
                                                       §
     v.                                                §     ON REMOVAL FROM
                                                       §     CAUSE NO. DC-18-09810
                                                       §     DALLAS COUNTY, TEXAS
     BOSTON SCIENTIFIC CORPORATION,                    §
                                                       §
                            Defendant.                 §

                BOSTON SCIENTIFIC CORPORATION’S NOTICE OF REMOVAL

           Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Boston Scientific Corporation

(“Boston Scientific”) hereby files this Notice of Removal from the 68th Judicial District of Dallas

County, Texas to the United States District Court for the Northern District of Texas, Dallas

Division,1 and alleges as follows:

I.         INTRODUCTION

           1.     On July 27, 2018, Plaintiff Carolyn Carpenter (“Plaintiff’) filed a law suit in the

68th Judicial District of Dallas County, Texas, styled Carolyn Carpenter v. Boston Scientific

Corporation, No. DC-18-09810. Plaintiff served the Petition on Boston Scientific on August 13,

2018.

           2.     The Petition asserts product liability claims against Boston Scientific. Plaintiff’s

claims against Boston Scientific are predicated on injuries Plaintiff allegedly incurred following a

surgical procedure involving Boston Scientific’s Advantage Fit Transvaginal Mid-Urethral Sling


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      By removing this action to this Court, Boston Scientific does not waive any defenses,
      objections, or motions available under state or federal law. Boston Scientific expressly
      reserves the right to move for dismissal of some or all of Plaintiff’s claims and/or seek
      dismissal based on lack of personal jurisdiction, improper venue, and/or the doctrine of forum
      non conveniens.

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System (“Advantage Fit”) on April 5, 2012. See Pet. ¶¶ 7, 32.

        3.     This Court has original subject matter jurisdiction over this civil action pursuant to

27 U.S.C. §1332 because there is complete diversity of properly joined parties, and the amount in

controversy exceeds the sum or value of $75,000.

II.     PROCEDURAL COMPLIANCE

        4.     In accordance with Local Rule 81.1 and 28 U.S.C. § 1446(a), attached as

appendices hereto are:

        EXHIBIT A:         Index of all documents, clearly identified and indicating the date the
                           document was filed in the state court;

        EXHIBIT B:         A copy of the docket sheet in the state court action;

        EXHIBIT C:         Plaintiff’s Original Petition, which is the only pleading filed in the state
                           court action to date;

        EXHIBIT D:         A signed Certificate of Interested Persons that complies with LR 3.1(c)
                           or 3.2(e)

        5.     Pursuant to 28 U.S.C. § 124(a)(1), the U.S. District Court for the Northern District

of Texas, Dallas Division, is the federal judicial district encompassing the District Court of Dallas

County, Texas, where this suit was originally filed. Venue is therefore proper in this district under

28 U.S.C. § 1441(a).

        6.     This Notice of Removal is timely. Boston Scientific files this Notice of Removal

within 30 days of August 13, 2018, the date of service of the initial pleading upon Boston

Scientific. See 28 U.S.C. § 1446(b)(1).

        7.     A written notice with a copy of this Notice of Removal is being served on all parties

to this action and is being filed with the Clerk of the 68th Judicial District Court of Dallas County,

Texas, as provided by 28 U.S.C. § 1446(d).




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III.    REMOVAL IS PROPER BECAUSE THIS COURT HAS ORIGINAL SUBJECT
        MATTER JURISDICTION

        A.     Diversity of Citizenship Exists Among Parties.

        8.     Upon information and belief, Plaintiff is, and was at the time of the filing of this

action, a resident and citizen of Texas. See Pet. ¶ 2.

        9.     Defendant Boston Scientific is a corporation organized and existing under the laws

of the State of Delaware with its principal place of business located in the Commonwealth of

Massachusetts. Boston Scientific is therefore a citizen of Delaware and Massachusetts. See

28 U.S.C. § 1332(c)(1) (“a corporation shall be deemed to be a citizen of every State . . . by which

it has been incorporated and of the State where it has its principal place of business . . .”).

        10.    Because Plaintiff and Defendant Boston Scientific are not citizens of the same state,

diversity of citizenship exists between Plaintiff and Boston Scientific.

        B.     The Amount in Controversy Requirement is Satisfied.

        11.    Plaintiff’s Petition does not plead a specific statement of the damages sought as

required by Texas Rule of Civil Procedure 47(c). See Pet. Where a complaint does not specify

the amount of damages, however, a removing defendant need only show that the minimum sum

necessary to confer federal diversity jurisdiction is at issue. See Simon v. Wal-Mart Stores, Inc.,

193 F.3d 848, 850 (5th Cir. 1999); Luckett v. Delta Airlines, Inc., 171 F.3d 295, 298 (5th Cir.

1999). In particular, the defendant may show that the amount in controversy exceeds the

jurisdictional requirement by demonstrating that it is “facially apparent” that the amount in

controversy likely exceeds $75,000.00. See id.

        12.    It is apparent from the face of Plaintiff’s Petition that the amount in controversy

exceeds $75,000.00, exclusive of interest and costs, as required by 28 U.S.C. § 1332(a). Plaintiff

seeks recovery for alleged physical pain and mental anguish in the past and future, loss of earning


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capacity in the future, disfigurement in the past and future, physical impairment in the past and

future, as well as past and future medical expenses. Pet. ¶ 71. Additionally, Plaintiff seeks

exemplary damages. Pet. ¶ 72.

        13.    Similar allegations have been held to establish, on their face, that the amount in

controversy exceeds the jurisdictional requirement of $75,000.00. See, e.g., Gebbia v. Wal-Mart

Stores, 233 F.3d 880, 883 (5th Cir. 2000) (holding it facially apparent that the amount in

controversy was met where plaintiff sought medical expenses, pain and suffering, mental anguish,

loss of enjoyment of life, loss of wages and earning capacity, permanent disability and

disfigurement); Nadeau v. Mentor Tex., L.P., No. 3:03-CV-2312-L, 2005 WL 1553958, at *2

(N.D. Tex. Jul. 1, 2005) (holding amount in controversy satisfied where plaintiff sought recovery

for pain and suffering, mental anguish, disfigurement, past and future medical expenses and

punitive damages); Sorensen v. Ashmore, 4 F. Supp. 2d 669 (E.D. Tex. 1998) (holding amount in

controversy satisfied where plaintiff sought attorney’s fees, actual damages, damages for

emotional distress and punitive damages).       Accordingly, it is apparent that the amount in

controversy requirement is satisfied.

        14.    The damages awarded to plaintiffs in similar federal cases also demonstrate

Plaintiff’s intent to seek over $75,000.00. See Huskey v. Ethicon, Inc., No. 2:12-cv-05201 (S.D.

W. Va. 2014), ECF No. 402, 431 (returning a verdict against Ethicon for strict liability and

negligence claims related to the implantation of a pelvic mesh device); Cisson v. C.R. Bard, Inc.,

No. 2:11-cv-00195 (S.D. W. Va. 2013), ECF No. 436, 449 (returning a verdict against C.R. Bard

for claims related to the implantation of a pelvic mesh device). The fact that other similarly

situated plaintiffs have received verdicts for more than the minimum amount-in-controversy in

similar cases demonstrates the instant Plaintiff’s intent to seek over $75,000.00.



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        15.    Plaintiff’s claim for damages therefore exceeds the requisite amount in controversy

for purposes of diversity jurisdiction under 28 U.S.C. § 1332(a).

IV.     DEMAND FOR JURY TRIAL

        Boston Scientific hereby demands a jury trial as to all claims triable in this action.

V.      CONCLUSION

        WHEREFORE, Boston Scientific hereby gives notices that the matter styled as Carolyn

Carpenter v. Boston Scientific Corp., No. DC-18-09810, is removed to the United States District

Court for the Northern District of Texas, Dallas Division.




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                                   Respectfully submitted,

                                   SHOOK, HARDY & BACON LLP

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                                             Attorneys for Defendant,
                                             Boston Scientific Corporation




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                              CERTIFICATE OF SERVICE

       I certify that on the 4th day of September, 2018, I served a true and correct copy of
DEFENDANT BOSTON SCIENTIFIC CORPORATION’S NOTICE OF REMOVAL to all counsel of record in
accordance with the Federal Rules of Civil Procedure.



                                                 /s/ Kelsey A. Copeland
                                                 KELSEY A. COPELAND




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